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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       v.

 DAVID LEE JUDD,                                     Case No. 1:21-cr-40-3 (TNM)

                       Defendant.


                                            ORDER

       In Capitol breach cases before this Court, the Government has filed a table providing the

sentences requested and sentences imposed for other offenders involved in the Capitol

breach. Considering the relatively few sentences imposed thus far for violations of 18 U.S.C. §

111 and 18 U.S.C. § 1512(c)(2) in the Capitol breach cases and the need to avoid any unwanted

sentencing disparities more broadly within the federal court system, see 18 U.S.C. § 3553(a)(6),

the Court hereby ORDERS the Government to supplement its tables with 18 U.S.C. § 111(a)(1)

and 18 U.S.C. § 1512(c)(2) cases brought by U.S. Attorneys’ Offices in other jurisdictions—

including but not limited to the District of Oregon—for all such cases initiated between January

6, 2020, and January 6, 2022. The chart shall include cases involving charges under 18 U.S.C. §

111(a)(1) and 18 U.S.C. § 1512(c)(2) whether or not the cases led to convictions on those

charges. The table shall also include the other information currently listed on the Government’s

sentencing tables (e.g., offense of conviction, the Government’s recommended sentence, and the

sentence imposed). The Government shall file this table one week before Memoranda in Aid of

Sentencing are due.




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      SO ORDERED.
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Signed: August 24, 2022                   –––––––––––––––––––––––––––
                                          TREVOR N. MCFADDEN, U.S.D.J.




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